1
                            IN THE UNITED STATES DISTRICT COURT
2                                FOR THE DISTRICT OF ALASKA

3
      EQUAL EMPLOYMENT OPPORTUNITY                     Case No. 3:16-cv-00240-SLG
4     COMMISSION,

5                                 Plaintiff, and

6
      ERIC YANUSZ, AN INCOMPETENT
7     ADULT, BY AND THROUGH HIS
      GUARDIANS LUANN AND RICHARD
8     YANUSZ,

9                          Plaintiff-Intervenor,

10    v.

11
      THE SALVATION ARMY, INC.,
12
                                    Defendant.
13

14

15                                 ORDER APPROVING CONSENT DECREE

16          Upon consideration of the parties’ Stipulated Consent Decree (Docket 34), and Plaintiff-

17   Intervenor’s consent thereto (Docket 36), the Court hereby APPROVES the Consent Decree.

18          IT IS ORDERED that proposed Consent Decree is APPROVED as the final decree of
19   this Court in full settlement of this action. This lawsuit is hereby dismissed with prejudice and
20   without costs or attorneys’ fees. The Court retains jurisdiction of this matter for purposes of

21   enforcing the Consent Decree approved herein.

22          IT IS FURTHER ORDERED that all deadlines and hearings currently set before this
23   Court are VACATED.
24
            DATED this 3rd day of April, 2018 at Anchorage, Alaska.
25

                                                   /s/ Sharon L. Gleason
                                                   UNITED STATES DISTRICT JUDGE




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